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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff, Civil Action No. 11-cv-5223

v.
HON. JEFFREY T. GILBERT
STEPHEN D. FERRONE, DOUGLAS A.
MCCLAIN, JR., DOUGLAS A. MCCLAIN, SR.,
JAMES T. MICELI, IMMUNOSYN
CORPORATION, ARGYLL
BIOTECHNOLOGIES, LLC, ARGYLL
EQUITIES, LLC, and PADMORE

HOLDINGS, LTD.,

Defendants.

Nee Nm Name Nee Ne Nee Ne Ne Nae ee ee ee ee ee ee te ee”

FINAL JUDGMENT AS TO DEFENDANT STEPHEN D. FERRONE

The Securities and Exchange Commission having obtained a jury verdict against
Defendant Stephen Ferrone (“Defendant Ferrone” or “Ferrone”) finding him liable for violating
Section 10(b) of the Securities Exchange Act of 1934 (“Exchange Act”) [15 U.S.C. § 78j(b)],
and Rules 10b-5 [17 CFR § 240.10b-5] and 13a-14 [17 CFR § 240.13a-14] thereunder, and the
Court having considered the arguments of the parties as to the appropriate remedies, the Court
hereby enters this Final Judgment:

I.
[OFFICER AND DIRECTOR BAR]

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that, pursuant to Section

21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)], Defendant Ferrone is prohibited, for a

period of three (3) years nunc pro tunc to July 24, 2016, from acting as an officer or director of
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any issuer that has a class of securities required to be registered pursuant to Section 12 of the
Exchange Act [15 U.S.C. § 781] or required to file reports pursuant to Section 15(d) of the
Exchange Act [15 U.S.C. § 780(d)].
Il.
[CIVIL PENALTY]

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant Ferrone
shall pay a civil penalty in the amount of $120,000.00 to the Securities and Exchange
Commission pursuant to Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)].
Defendant Ferrone shall make this payment within 30 days after entry of this Final Judgment.

Defendant Ferrone may transmit payment electronically to the Commission, which will
provide detailed ACH transfer/Fedwire instructions upon request. Payment may also be made
directly from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendant Ferrone may also pay by certified check,

bank cashier’s check, or United States postal money order payable to the Securities and
Exchange Commission, which shall be delivered or mailed to:

Enterprise Services Center

Accounts Receivable Branch

6500 South MacArthur Boulevard

Oklahoma City, OK 73169
and shall be accompanied by a letter identifying the case title, civil action number, and name of
this Court, and Defendant’s name specifying that payment is made pursuant to this Final
Judgment.

Defendant Ferrone shall simultaneously transmit photocopies of evidence of payment and

case information to the Commission’s counsel in this action. By making this payment, Defendant

Ferrone relinquishes all legal and equitable right, title, and interest in such funds and no part of
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the funds shall be returned to Defendant Ferrone. The Commission shall send the funds paid
pursuant to this Final Judgment to the United States Treasury. Defendant Ferrone shall pay post-
judgment interest on any delinquent amounts pursuant to 28 U.S.C. § 1961.
Ill.
IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.

SO ORDERED this day of Ju | = . 2017/

hon. seFFRE -
WHON. JEFFREY T. GILBERT
